Case 6:21-cv-00245-WWB-EJK Document 11 Filed 05/28/21 Page 1 of 2 PageID 77




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF FLORIDA

SCANNING TECHNOLOGIES              §
INNOVATIONS LLC,                   §
                                   §
      Plaintiff,                   §  Case No: 6:21-cv-00245-WWB-EJK
                                   §
vs.                                §  PATENT CASE
                                   §
TECOM GROUP, INC. ,                §
                                   §
      Defendant.                   §
_____________________________________

                           MOTION FOR DISMISSAL

      Under Federal Rule of Civil Procedure 41(a), Scanning Technologies

Innovations, LLC (“STI”) moves to dismiss its claims against Tecom Group, Inc. with

prejudice, and further moves for an order that each party bears its own attorneys’ fees

and costs.

Dated: February 5, 2021                 Respectfully submitted,

                                        /s/ Howard L. Wernow
                                        Howard L. Wernow B.C.S.
                                        Florida Bar No. 107560
                                        Sand, Sebolt & Wernow Co., LPA
                                        4940 Munson Street NW
                                        Aegis Tower - Suite 1100
                                        Canton, OH 44718
                                        Telephone: 330-244-1174
                                        Fax: 330-244-1173
                                        Email: howard.wernow@sswip.com

                                        Board Certified in Intellectual Property Law
                                        By the Florida Bar

                                        ATTORNEY FOR PLAINTIFF
Case 6:21-cv-00245-WWB-EJK Document 11 Filed 05/28/21 Page 2 of 2 PageID 78




                        CERTIFICATE OF SERVICE


      The undersigned hereby certifies that a true and correct copy has been

electronically filed using the CM/ECF filing system, which automatically sends

email notifications to all counsel of record and which will permit viewing and

downloading of same from the CM/ECF system on May 28, 2021.



                                    /s/ Howard L. Wernow
                                    Howard L. Wernow




                                      2
